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                             Exhibit “F”
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\                      ·       RESTATED TRUST AGREEMENT
                           OF THE PLUMBERS LOCAL (UNION NO. 1
                           ADDITIONAL SECURITY BENEFIT FUND

                           THIS TRUST AGREEMENT is made and entered into effective the

      -t!2 of})f!:X~,9S9
             day                     in the State of New York, by and between Plumbers Local

       Union No. 1 (hereinafter referred to as the "Union"), the Association of Contracting

       Plumbers of the City of New York, Inc. (hereinafter referred to as the "Association")

       on behalf of Employers (hereinafter referred to as "Employers") who may from time

      to time make payments to the Trust herein created pursuant to Collective Bargaining

      Agreements and the Trustees designated as described herein.

                           WHEREAS, the parties hereto believe that it is in the best interest of

      the employees represented by the Union, and the families and dependents of. these

      employees, to provide for health,· welfare, and related benefits and for th;:it purpose

      continue this Trust Fund; and

                       WHEREAS, the parties to this Trust have entered into Collective

      Bargaining Agreements which provide, among other things, that the Employers will

      make payments to a Additional Security Benefit Fund to provide benefits to

      employees covered by the Collective Bargaining Agreements, and
                                                                                                    I
                           NOW, THEREFORE, in consideration of the promises and of the              I
                                                                                                    I
      mutual agreements contained in this Trust Agreement, the parties hereto agree to and

      apopt all of the terms and provisions contained herein and the Trustees declare that
                                                                                             '.
      they will. receive, hold, use and apply the payments and any other money or property

      which may come into their hands as Trustees for the exclusive benefit of the

      employees and their beneficiaries upon the terms, conditions and trusts, .hereinafter
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       stated.
                                             ARTICLE I
                                            DEFINITIONS

                        Unless the context or subject matter requires otherwise, the

       following definitions will govern in this Trust Agreement:

                        Section 1.. Col.lective Bargaining Agreement. "Collective Bargaining

      Agreement" means a written labor contract or other written agreement between the

       Union and an Employer or the Association which requires payments to this Fund in a
                                                                                     ._.r,.,.        '


      manner acceptable to the Trustees together with any modifications, supplements or

      amendments thereto.       The term also includes a written agreement betw~en the

      'l!lnited Association or a local or state labor organization and Employers or an

      Employer association or a signed participation agreement between the Fund and an

      \Employer or Employer association which ·requires payments to this Fund in a manner

      acceptable to the Trustees.

                        Section 2. Union. "Union" means Local Union No. 1 affiliated with

      the United Association of Journeymen and Apprentices of 'the Plumbing and

      Pipefitting Industry 'of the United States and Canada.

                        Section 3. Association. ~Association" means the Association of

      Contracting Plumbers of the City t;>f New York, Inc.




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                         Section 4. Employer. "Employer" means:

                         a. An employer which is a member of or is represented ih collective

       bargaining by the Association and which is bound by a Collective Bargaining

       Agreement providing for payments to the Trust Fund including payments with respect

      to employees represented by the Union or with respect to other employees of the

      employer approved by the Trustees, or which is otherwise required to make such

       payments.

                         b.   An employer which is not a member of or represented in

      collective bargaining by the Association but which has executed a Collective
      ,Bargaining Agreement providing for, payments to the Trust Fund including payments

      with respect to employees represented by the Union or with respect to other

      tEimployees of the employer approved by the Trustees, or which is otherwise required

      to make such payments.

                         c. An employer that has by agreement with the United Association

      agreed to make payments into the Trust Fund for work performed within the

      territorial or trade jurisdiction of the Union.

                         d. The Union, for the purpose of making payments into the Trust

      Fund as the employer of the employees of the Union for whom the Union agrees to

      contribute to the Trust Fund--in accordance with the rules adopted by the Trustees.

                         e. A state or local labor organization, for the purpose of making

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  payments into the Trust Fund as the employer of the employees of such labor

  organizations who were previously participants in this Fund for which such .labor

  organizations agree to contribute to the Trust Fund in accordance with the rules

  adopted by the Trustees.

                   f. This Trust Fund or other trust funds to which the Union is a

  party, and the Plumbing Industry Board as the administrative office of the Local 1

  Funds, for the purpose of making payments into this Trust Fund as the employer of           \
  employees of such trust funds for which such trust funds;·agree to contribute to this
 ·~   '                                                             .
  Trust Fund in accordance with the rules adopted by the Trustees.
                   g. The Association, for the purpose of making payments into the

  Trust Fund as the employer of employees of the Association for which the                    I
                                                                                              '
                                                                                              I·

  Association agrees to contribute to the Trust. Fund in accordance with the rules

  adopted by the Trustees.
                   Provided, however, that the foregoing reference to the Union, or

 . state or local labor organizations and trust funds as "Employers" will not convey to ·

  these organizations any right or privilege granted by this Trust Agreement to

  Employers who are contractors.

                   Section 5. Employee. "Employee" means those employees who are

 · employed by any Employer as defined in Article I, Section 4, and on whose behalf

  payments are required to be made to the Fund pursuant to a Collective Bargaining

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                                                                                                 \
   Agreement and such other persons as the Trustees determine to be employees under              I


   th.e Plan of Benefits.    The Trustees have the authority to adopt rules covering ·           I
                                                                                                 I
   eligibility, termination of eligibility, reinstatement of eligibility, reporting and record
                                                                                                 I
   keeping requirements for Employees.        The Trustees have the authority to adopt

   contribution requirements· for Employees who participate in the Fund under an

  agreement with the Trustees.

                    Section 6.    Beneficiary.       "Beneficiary" means a person designated

  by an Employee or by the terms of the Plan of Benefits created pursuant to this Trust

  Agreement, who is or may become entitled to a benefit from this Fund.·

                    Section 7 .. Trustees.       "Trustees• maims the Trustees designated

  and appointed in accordance with the terms.of this Trust Agreement.

                    Section 8.     Trust Agreement.          "Trust Agreement" means this

  ·document including any amendments, supplements and modifications hereto.

                    $action 9.     ERISA.        "ERISA" means the Employee Retirement

  Income Security Act of 1974, any amendments as· may from time to time be made

  and any regulations promulgated pursuant to the provisions of ERISA.

                    Section 10. Plan of Benefits. "Plan of Benefits" means the program

  of benefits, which may include health, welfare, and related benefits, established by

  the Board of Trustees pursuant to this Trust Agreement and as subsequently

  amended by the Trustees.

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                                  Section 11·. · Trust Fund. "Trust Fund" or "Fund" means the Trust

                Fund provided for in this Trust Agreement, and . means geMrally the monies,

                investments, insurance policies and other things of value which ·comprise the corpus,

                income and additions to the Trust Fund.

                                                   ARTICLE II
                                        CONTINUATION OF THE TRUST FUND

                                  Section 1.      Continuation of the Trust Fund.      This Agreement

                continues a Trust Fund known as the Plumbing Industry Board - Plumbers Local Union

. ','······     No. 1 Additional Security Benefit Fund •

                                  Section 2. Composition of Trust Fund. The assets of this Trust

                :Fund consist qf (1' the sums of money that have been or will be paid or which are

                .due and owing to the Fund by the Employers as required by Collective Bargaining

                •Agreements; (2) the sums of money that have bean or may be paid to the Fund by

                "Employees; (3) all investments made therewith, the proceeds thereof and the income

                therefrom; (4) all policies of insurance including dividends, interest, refunds, or other

                sums payable to the Trustees on account of said policies; (5) all other payments and

                payments to or due and owing to the Trustees from any source to the extent

                permitted by law; and (6) supplies, property and other as~ets used by the Trustees in

                the administration of the Fund.

                                  Section 3. .Purpose of Trust Fund. The Trust Fund created by this

                Trust Agreement is for the purpose of providing (1) health, welfare, and related


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  ·benefits that may be permitted by law under a plan of benefits adopted by the

   Trustees and (21 the means for financing the expenses .of the Trustees in the

   operation and administration of the Trust Fund, in accordance with this Trust

   Agreement. This Trust is a multi-employer plan as that term is dE!fined in Section

   3(37) of ERISA.

                     Section 4.   Irrevocable Purpose.   The Trust created by this Trust

   Agreement is an irrevocable trust established for the exclusive benefit of employees,

  in accordance with Section 302(c) of the Labor-Management Relations Act of 1947,

  as amended by Public Law 86-257, 1959, and in accordance with ERISA.

                                       ARTICLE Ill
                                   BOARD OF TRUSTEES

                     Section 1 . Board of Trustees. The operation and administration of

  ··ti:Je Fund 'will be the responsibility ·of a Board of Trustees, composed of eight .(81.

  ·Trustees, four (4) of whom will be· Employer Trustees, designated and appointed by

  the Association, and four (41 of whom wUI' be Union Trustees, designated and

  appointed by the Union.

                     There may. also be up to eight (8) alternate Trustees. Up to four (4)

  of the alternate Trustees may be appointed by the. Union and up to four {4) of the

  Alternate Trustees may be appointed by the Association.         The Alternate Trustees

  shall serve in the place of any of the .Trustees who are unable to attend a regular or

  special meeting of the Trustees or who are temporarily incapacitated from serving.


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  At or before a meeting, 'the Union am;! the Association may designate one or more of
  the Alternate Trustees to serve in the place, of any absent Union or Association
  Trustees respectively.
                    The composition of the Board of Trustees may be changed at any
  time by majority vote of the Trustees. .
                    Section 2. Acceptance of Trusteeship. Each Trustee and Alternate
  Trustee will sign a written acceptance and thereby will accept the Trust established
  by this Trust Agreement, will consent to act as Trustee and will agree to administer
  the Trust Fund as provided in this Trust Agreement.. The written acceptance will be
  .<in a form satisfactory to the Trustees and consistent with ERISA and will be filed at
  the.·office of the Fund.
                    Section 3.    Appointment and Removal of Trustees.           Trustees
  representing the Employers will be appointed by the Association from among the
  members · of the Association who are Employers or officers of Employers.           Any
  Employer Trustee may be removed from office at any time for any reason by the
  Association. Trustees representing the Union will be appointed by the Union from
 ·among the officers of the Union. A Union Trustee may be removed from office at
  any time, for any reason, by the Union. Any such appointment or termination will be
  effective as stated in a written notice which will be given to the remaining Trustees.
                    Section 4. Nama. The Trustees will conduct the business of the
  Fund and execute all documents in the name of the Plumbers Local Union N.o. 1

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   Additional Security Benefit Fund.
                    Section 5. Resignation and Replacement of Trustees.         A Trustee
   may resign and become and remain fully discharged from all further duty or
   responsibility under this Trust Agreement by giving thirty (30) days' written notice of
   such resignation to the. Co"Chalrmen of the Board of Trustees, or such notice as the
   remaining Trustees may accept as sufficient. The notice will state the date on which
   the resignation will take effect and the resignation will take effect on the date stated
   in the notice unless a successor Trustee is appointed at an earlier date, in which
   event the resignation will take effect immediately upon the appointment of the .

  .'successor Trustee.
                    In the event of the resignation, death, incapacity or the
  .:unwillingness 'of any of the· Trustees to serve, a successor Trustee will be designated
   :by the Union or Association, as applicable, in accordance with this Trust Agreement.
   The remaining Trustees will be notified of such designation In writing.
                    Any successor Trustee designated as provided in this Trust
   Agreement will sign an acceptance of this Trust Agreement as provided in Section 2
   of this Article, and will thereby become vested with all the rights, powers, discretion
   and duties of his predecessor Trustee.
                    Any retiring or terminated Trustee will promptly turn over to the
   remaining·Trustees at the office of the Fund any and all records, books, documents,
   monies and other property in his possession which are a part of the Trust Fund ~nd

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   related to the fulfillment of the Trustees' duties and responsibilities under this Trust

   Agreement.

                     The powers of the Trustees to act, as provided in this Trust

   Agreement, will not be impaired or limited in any way pending the designation of a

   successor Trustee to fill any vacancy.
                                                                                              I
                                                                                              I
                     Section 6. Term of Trustees. A Trustee will continue to serve until

   his death, incapacity, resignation, removal, or expiration of his term as established by

   the Union or Association, as applicable, designating the Trustee,

                     Section 7.    Payment of Trustees. . The Trustees may not receive

  . comp~nsation for the performance of their duties but may be reimbursed, in                    I
   accordance with ERISA, for any reasonable and necessary expense which they may

   incur :in the performance of their duties.

                                    ARTICLE IV
                      MEETINGS AND DECISIONS OF THE TRUSTEES

                    .Section 1. Officers of the Trustees. The Trustees will select from

   among themselves two Co-Chairmen of the Trustees to serve for a period which they

   wilr determine. One Co-Chairman will be selected from among the Union Trustees

   and the other Co-Chairman will be selected from among the Employer Trustees.

                     Section 2.    Meetings of the Trustees.    Regular meetings of. the

   Trustees will be held at such times and places as determined by the Co-Chairmen.

   Reasonable notice of the meetings will be provided, except that meetings may         be
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    held at any time without notice if all the Trustees consent thereto in writing. Special

    meetings may be called by either Co-Chairman upon three (3) days' written notice.

    The Trustees will meet at least onpe each year and at such other times as they find it
                                                                                                                                                                                           I    i
                                                                                                                                                                                                i
                                                                                                                                                                                                I
    necessary to conduct their business.

                                    Section 3. Action of Trustees Without Meeting. The Trustees may

    also take action without a meeting, in writing or ·by telepl)one conference call, .

    provided that, in such cases, there must be unanimous agreement of all Trustees.

                                    Section 4.    Quorum.   In any meeting of the Trustees, four (4)

   Trustees, consisting of at least two (21 Union Trustees ar.~d at least two (2) Employer

   Trustees, will constitute a quorum for the conduct of business. At all meetings, the

   Employer and Union Trustees will have equal voting strength.

                                    Section 5. Majority Vote of Trustees. All action by the Trustees

  . will be by majority decision ofthe Union Trustees present and voting and the majority

   decision of the Employer Trustees present and voting.                                                This requirement for a

   decision by a majority of both Union and Employer Trustees voting will apply not only

   to this Article but to any portion of this Trust Agreement which refers to action by

   the Trustees.                 If any matter presented to the Trustees for a decision cannot be

   decided because there is no quorum at two successive regular or special meetings, or

   because of a tie vote at any meeting, the matter may 'be submitted to arbitration, as

   stated in Articl.;~ IX of this Trust Agreement.

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                    Section 6.             Minutes of Meetings.                         · The Trustees or someone
                                                                                                                                           I
   designated by them will keep minutes of all meetings. The· minutes need not be

   Verbatim. Copies of the minutes will be sent to all the Trustees and to other persons

   as the 'Trustees may direct. Minutes of a meeting will be reviewed and approved by

   the Trustees at the next meeting.
                                                                                                                                               I
                                     ARTICLE V
                            POWERS AND DUTIES OF TRUSTEES

                    Sectior.~   1.    Conduct of Trust Business.                             The Trustees have the

   authority to control and manage the operation and administration of the Fund and will

   conduct the business and activities of the Fund· in accordance with this Trust

   Agreement and applicable law. The Trustees win hold, manage and protect the Trust

   Fund and collect. the income therefrom and payments thereto. The Trustees are the

   "Named Fiduciary" and the "Administrator" of the Fund as those terms are defined in

   ERISA.

                    Section 2. Use . of the Trust Fund for Expenses and to Provide

   Benefits.

                    {a)    The Trustees have the power and authority to use and apply

   the Trust Fund to pay or provide for the payment of all reasonable and necessary

   expenses {i) to collect Employer and/or Employee payments and other monies and

   property to which they. may be entitled and (ii) to administer this Trust Fund,


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   including the purchase or lease of premises, material, supplies and equipment, (iii) to

   -obtain such leg!!l, actuarial, consulting, investment, administrative, accounting,

   clerical -and other services as they determine to be necessary or appropriate, and (iv)

   to perform such other acts as the Trustees, in their sole discretion, find necessary or

   appropriate to perform their duties.

                     (b) ·   The Trustees have the power and authority to use and apply

   the Trust Fund to pay or provide for the payment of health, welfare, and related

   benefits to eligible Employees and Beneficiaries in accordance with the terms,

   provisions and conditions of the Plan of Benefits adopted by the Trustees pursuant to

   ·this Trust Agreement.
                     Section 3. Construction and Determinations by Trustees. Subject

   to the purposes of the Fund and the provisions of this-Trust Agreement, the Trustees ·

  '·'have full and exclusive discretionary authority to determine all questions of coverage

   and eligibility, method of providing for benefits. and all other related matters. They

   have full discretionary power to interpret the provisions of this Trust Agreement and

   the Plan of Benefits, and the terms used in these documents end any rules and

   regulations issued in. connection with these documents. Any such determination and

   any such interpretation adopted by the Trustees in good faith will be binding upon the

  . Union, Association, Employers, Employees and their Beneficiaries.

                     Section 4. General Powers. In addition to other P.owers set forth

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            herein or conferred by law, the Trustees are hereby empowered to:

                             (a)    demand, collect, receive . and hold payments and take any

            action which they may find necessary or desirable to collect payments due the Trust

            Fund;

                             (b)    compromise, settle, arbitrate and release cfaims or demands

            in favor of or against the Trust Fund or the Trustees on such terms and conditions as

            the Trustees may determine to be advisable; commen~e or defend any legal,

.·._.,
            equitable or administrative proceedings brought in connection with the Trust Fund

            and represent the Trust Fund in all such proceedings;

                             (c)    pay: or -provide for the payment of all reasonable and

           · necessary expenses of collecting payments;

                             (d)    enter into any and all contracts and agreements for carrying

           'out" the terms o'f this Trust Agreement and the administration of the Fund;

                             (e)    enter into an investment contract or agreement with one or

            more insurance companies for the investment and reinvestment of assets of the Trust

            Fund;

                             {f)    invest, reinvest and have invested and reinvested assets of

            this Trust Fund, without distinction between principal and income, in any type of

            investment ttie Trustees determine to be prudent. There is no limitation restricting

            investments in common stock to a percentage of the Trust Fund or to a percentage

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   of the total market value of the Fund. The Trustees have the authority, with respect

   to any stocks, bonds or other real or personal property which they hold as Trustees,

   to exercise all the rights, powers and privileges which might be lawfully exercised by

   a person owning similar property in his own right;

                    (g)    register securities or other Trust Fund property in the name of

   the Trust Fund or of the Trustees, or in the names of one or more nominees of the

   Trustees and to hold instruments in bearer form;

                    (h)    enter into and terminate agency or custody agreements with

   a bank, trust company or other custodian chosen by them, under which agreements

   the Trustees may turn over to such banlc, trust company or other custodian all· or a

   portion of the funds held by them in this Trust for safekeeping, investment or

   reinvestment, on such terms as the Trustees determine to be advisable;

                    m.     invest the assets of the Fund in a common, collective, or

   commingled i:rust fund, to the extent permitted by ERISA and other applicable law.

  · To the extent monies or other assets are transferred to a collective trust in exchange

   for an interest in the collective trus!, the terms and conditions of the collective trust

   alone will gove.rn the investment duties, responsibilities and powers of the trustees of

   the collective trust, and to the extent required by law, those terms, responsibilities,

   and powers will be incorporated herein by reference ·and wiU be part .o.f .thi~ Trust

   Agreement;

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                     (j)   sell, exchange, lease, convey, mortgage or dispose of any real

   or personal property, which is at any time a part of the Trust Fund, on terms which

   the Trustees determine to be proper, and to execute and deliver any and all

   instruments of conveyance, lease, mortgage or transfer in connection therewith;

                     (kl     pay or provide for the payment of all real and personal

   property taxes, income taxes and other taxes lt1vied or assessed under applicable law

   upon ()r with respect to the Trust Fund or any money, property, or securities forming

   a part of the Fund;
                     (I)   retain such portion of the assets of the Trust Fund in cash or

   cash ·equivalents as the Trustees may determine to be desirable, wl~hout any liability
   for interest on such assets;

                     (m)   establish and accumulate as part of the Trust Fund such .

   reasonable reserve funds as the Trustees, in their sole discretion, determine to be

   necessary or desirable to carry out the purposes of the Trust Fund;

                    (n)    allocate fiduciary responsibilities among the .Trustees, or

   committees of the· Trustees, delegate fiduciary duties to persons other than the

  Trustees, an.d delegate Trustee responsibilities to an investment manager as provided

  in this Trust Agreement and in accordance with the requirements of ERISA;

                    {o)    appoint one or more investment managers, as that term is

  defined in ERISA, and enter into an agreement with such investment managers, in

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                                                                                                I
   accordance with the requirements of ERISA, delegating to the investment manager

   the responsibility
            .         to
                      .  control and manage, acquire and dispose of all or a portion pf the

   assets of the Trust Fund which the Trustees may specify in the investment

   manager's discretion subject to Investment Guidelines and Investment Policies

   adopted by the Trustees;

                     (p)    enter into an agreement with an administrative manager or

   establish an arrangement in cooperation with related benefit funds to establish an

   administrative office or offices of. :the Trust Fund and of the Trustees under the

   direction of the Trustees or a committee of the Trustees. The administrative office

  · will .coordiflate and administer the accounting, bookkeeping and clerical services,

 · · provide for the coordination of actuarial services furnished by the consulting actuar-Y,

  .~prepare   (in cooperation where appropriate with the consulting actuary and

   ·independent auditor) all reports and other documents to be prepared, filed or

   distributed by the. Trust Fund in accordance with Jaw, assist in the collection of

   amounts due to the Trust Fund by Employers and Employees and perform such other

   duties and furnish othe.r services as may be assigned, delegated or directed or as may

   be contracted by or on behalf of the Trustees;

                     (q)    enter into an agreement with a qualified Investment

   consultant to assist the Trustees in exercising their investment powers and authority

   by reviewing the investment performance, the investment policy and the types and

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   kinds of investments made by the Trustees and/or the investment manager(s) and to

   provide advice to the Trustees in connection with their duties under Article V, Section

   5 below;                                                                                       \
                     (r)    engage one or more independent certified public accountants,

  ·enrolled actuaries and qualified legal counsel to perform all services as may be

   required by applicable law and such other services as the Trustees may determine to

   be necessary;

                     (s)    pay or provide for the payment fro!'!' the Trust Fund of all

   costs incurred in obtaining the services of professionals, consultants, managers and

  ·other providers or services to the Fund as the Trustees determine to be necessary

  :and in accordance with this Trust Agreement and applicable law;

                      (tl   designate an agent for service of legal process for the Trust

  "Fund;

                      (u)   obtain policies of insurance, to the extent permitted by law,

   to insure the Trustees, the Trust Fund, employees and agents of the Trustees and of

   the Trust Fund or the administrative office while engaged in business and related

   activities for and on behalf of. the Trust Fund (i) with respect to liability as a result of

   acts, errors or omissions of the Trustees, employees or agents, and (ii) with respect

   to injuries or property damage.       The cost of the premiums for such policies of'

   insurance will be paid out of the Trust Ft.ind to the extent permitted by ERISA;.

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                     (v)    enter into reciprocal agreements (on such terms as the

   Trustees determine to be advisable) with trustees of other health, welfare, and

   related benefits funds to permit Employees covered by this Fund to· receive credit in

   this Fund when working outside the geographical and/or trade jurisdiction covered by
          .                                          .
   ·Collective Bargaining Agreements, as defined in this Trust Agreement, and to receive

   from other health, welfare, and related benefit funds payments received on behalf of

   such Employees by the other funds; to disburse to other health, welfare, and related

   benefits funds payments received on behalf of employees not normally covered unCfer

   this Fund to permit those employees to receive credit in such other health, welfare,

   and related benefits funds;

                     (w)    merge this Fund into or with another health, welfare, and

   related benefits fund or to accept the transft;lr of all or a portion of the assets of

   another health,· welfare, and related benefits fund in accordance with the provisions

   of ERISA;

                     (x)    establish policies, rules and procedures which the Trustees

   determine to. be necessary to accomplish the purposes of this Trust Agreement and

   which are not inconsistent with the terms of this Trust Agreement;

                     (y) exercise their dissretionary authority to make all determinations

   concerning initial and continuing participation of employees and employers in this

   Fund, benefit coverage, eligibility, type, amount anc:J duration of benefits;

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                   (z)         do any arid all acts, whether or not .expressly authorized in

  this Trust Agreement, which the Trustees determine to· be necessary to accomplish

  the general objective and purpose of health, welfare, and related benefits to

  Employees.

                   Section 5.       Trustee. Duty to Monitor Investment of Assets.

                         (a)   All investments made on behalf of the Fund will be at the

  direction and/or the specific advice or approval of (a) Investment Managers hired by

  the Trustees who will be required to acknowledge their status as Investment

  Managers and fiduciaries before performing any act for or on behalf of the Fund, or

  (b) a qualified independent investment consultant hired by the Trustees whose

  compensation does not depend on whether such investment is made.


                         (b)   The Trustees will adopt ·written Investment Guidelines for

  each Fund and each of the Fund's investment managers, setting forth an objective of

  avoiding excessive risk and volatility by the Fund as a whole and by each Investment

  Manager individually.


                         (c) In monitoring the performance of Fund assets, the Trustees
  will:

                     (i) Review, at least annually, the portfolio of each Investment
                     Manager for· compliance with its Investment Guidelines and the
                     Fund's other investments for compliance with the Fund's
                     investment guidalines;                      ·

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                         (ii) Review, at least annually, each Investment
                         Manager's report and compare that report in
                         material respects with information provided by the
                         Fund's · custodian, including the custodian's
                         statement of transactions;

                         (iii) · Review, at least annually, the basis on which
                         the Fund's assets under eacplnvestment Manager's
                         control are. valued and the basis on which the
                         Fund's other investments are valued;                                                                                                                I
                        (lv) Review, at least. annually, the risks associated                                                                                                I
                                                                                                                                                                             I
                        with each of the portfolios managed by each of the
                         Fund's Investment Managers and the Fund's other
                        investments and verify that all such risks are within
                       'the Fund's written Investment Guidelines;

                         {v) Compute, on an annual basis the rate of return
                         for each Investment Manager and the Fund's other
                         assets on an overalf"basis, by asset class and, where
                         investments are in more than one sector, by sector;

                         (vi) Compare, at least ·annually, the investment
                         results of each Investment Manager with appropriate
                         indices or benchmarks;

                         {vii) Verify, at least annually, each Investment
                         Manager's fee computation; and,          ·
                         {viii) Meet with each Investment Manager, at least
                         annually, and review the Investment Manager's
                         investment performance and any significant changes
                         in corporate or capital structure, investment style,
                         brokerage affiliation or practices, investment
                         processes and professional staff.

                         {d)          Assistance in Monitoring Investment Assets. Trustees shall

   monitor Fund assets in a manner prescribed in subparagraphs (m){ 1)(a)-(h) above. To

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   assist the trustees in the performance of the duties established in this section, the

   trustees may coordinate and integrate. the Fund's Investment Guidelines and the

   several agreements between their Investment Managers; their Qualified Investment·

   Consultants; their Custodian; their Cash and Cash Equivalent Managers; and their
                                                                                                    I   I
   Independent Auditors to collect- relevant information and data by way of detailed

   reports, summaries and accounts for their use, guidance and reliance.
                                                  ,•


                  (e)     Trustee   Duty    to Furnish Information Concerning Investment
   Performance.         All information, data and reports prepared and developed by these

   entities will be furnished to all of the TruStees and to each of the Funds service                   I
   providers. Each of the Fund's attorneys will be furnished with annual summaries of                   I
   this information.


                  !f) Trustee Acknowledgment. At least annually each of the Trustees will

   sign a document acknowledging that the Trustee has received and understands all of

   the   information · described           in   subparagraph     (ml(3){a)-(h)   above.    This

   acknowledgement will be subject to ERISA Section 405(d).


                  (g) Duty to Inform the Secretary of Labor. Should any of the Fund's

   Trustees, or anyone authorized by the Trustees alter or affect any documents

   governing any of the Funds so that such alterations affect any of the provisions

   specifically related to the terms detailed in Article V, Section 4(q) or Article V,

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   Section 5:

                (i) The Fund's trustees will give the Secretary of Labor
                written notice of alterations, including the exact language
                to be added to the documents governing the Fund. Notice
                under this subparagraph will be made by overnight
                delivery.

                (ii) Within 60 days receipt of the written notice described
                in subparagraph (a), the Secretary. of Labor will provide the
                Fund's trustees in writing any comments or changes to the
                alterations.                                           ·

                (iii) Should the Fund's trustees disagree with the Secretary's
                comments, corrections,· or changes, the Fund's tr.u.~tees may
                apply to the Court for an Order allowing the Fund Trustees to
                make the alterations as submitted to the Secretary pursuant to
                Article V, Section 5(g)(i).

                       Section 6.   Personal Liability.   Except to the extent ·liability Is

  imposed by ERISA, no Trustee will be liable or responsible for his own 'acts or for any

  acts or. defaults of any other fiduciary or party in interest or any other person.

                       The Trustees, to the extent permitted by applicable law, will not

  incur liability by acting on any document which they believe to be genuine and to

  contain a true statement of facts and, if applicable, to be signed by the proper

  person.

                       Section 7.    Reliance on Written Instruments and Professional

  Advice. Any Trustee, to t!le extent permitted by ERISA, may rely upon any written

  document purporting to have been signed by a majority of the Trustees as conclusive



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   evidence of the fact that a majority of the· Trustees have taken the· action stated to

   have been taken in such document.

                    The Trustees may, from time to time, consult with the Trust Fund's
                                                                                              I
   legal counsel, actuary and any other professionals. To the extent permitted by ERISA,

   tile Trustees will be protected in acting upon the advice of such professionals.
                                                                                              I
                    Section B. Reliance by Others. No party dealing .With the Trustees
                                                                                                  II
   will be obligated to see that the funds or property of the Trust Fund are applied to the
                                                                                                  I
 . . stated purposes ~f the Trust, to see that the terms of.. this Trust Agreement have

   been complied with or to review the necessity of any act . of the Trustees.           A        \

   document executed by the Trustees will be conclusive evidence in favor of any                  I

   person relying on such a document that at. the time the
                                                         . document was
                                                                    .   executed, the
                                                                                                  I
   Trust was in full force and effect, that the document was executed in accordance

   with the·terms and conditions of this Trust Agreement; and that the Trustees were

   authorized and empowered to execute the document.

                    Section 9. Books of Account. The Trustees or their agent will keep

  true and accurate books of account and records of all transactions of the Trust Fund                I
                                                                                                      I
   which will be open to the inspection of each of the Trustees at all times and which

   will be audited at least annually and at such other times as the Trustees determine it

  to be appropriate by a certified public accountant selected by the Trustees. Such

  audits will b~ available at all times for inspection by the Association, Employers, the

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   .Union and the Employees or their Beneficiaries at the principal office of the Trust
                                                                                           I
   Fund.

                    Section 10.    Surety Bonds.     The Trustees and any agents or

   employees who are empowered and authorized to sign checks and handle monies of

   the Trust Fund will be bonded by an authoriz13d surety company qualified to write

   such bonds. The Trustees may also bond such other agents or employees of the

   Trust Fund as they determine to be appropriate. ·The cost of the premiums of such

   bonds will be paid out of the Trust Fund. The bonds will be in the amounts required

   by applicable law.

                   . Section 11 . Execution of Documents. In the course of operating

   the Trust Fund the Trustees will execute documents in the name of the Plumbers

   Local Union No. 1 Additional Security Benefit Fund. Documents may be signed by

   the Co-Chairmen, or one or more Trustees authorized by resolution.       Documents

   executed as provided above are binding on the Trustees and the Trust Fund.

                                    ARTICLE VI
                            PAYMENTS TO THE TRUST FUND

                    Section 1. Payments Held in Trust. The Trustees will receive and

   hold the payments provided for in this Trust Agreement and any other money or

   property which may be entrusted to them, as Trustees, with the powers and duties

   and· for the uses and purposes set forth in this Trust Agreement. Neither the Union,


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   the Association, the Employers, Employees, or Beneficiaries will have any ·right, title

   or interest in or to the Trust Fund or any part of the Trust Fund except as ·required by

   law.

                    Section 2.   Encumbrance of Benefits. The Plumbers Local Union

  . No. · 1 Additional Security Benefit Fund is an irrevocable tru.st for the sole and

   exclusive benefit of the Employees and their Beneficiaries who are entitled to benefits

   under the Plan of Benefits.

                    All of the assets of the Trust Fund will be free from the interference

   and control of any creditor of the Union, the Association, the Employers, Employees

   or Beneficiaries except as may be required by law. No benefits will be subject to

   assignment or other anticipation, nQt subject to seizure or to sale under any legal,

   equitable or other· process except as may be specifically required in accordance· with

   ·applicable law. Except as required by law, if any claim or benefit becomes or may

   become payable to any person other than the Employee or Beneficiary entitled to the

   benefit, the Trustees have the power tr;J withhold payment of the benefit to the

   Employee or Beneficiary ·until the assignment, encumbrance, anticipation or other

   legal proct?SS is canceled or witbdrawn in a manner satisfactory to the Trustees.

   Until so canceled or withdrawn, the Trustees have the power and discretion to use

   imd apply the beriefits directly for the support and maintenance of the Employee or

   Beneficiary.

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                     Except as required by law, any Employers payments and payments

    due and owing to the Trust Fund are not and will not be considered wages due to

   Employees. The Trust Fund will not be liable for or subject to the debts, contracts or

   liabilities of the Union, the Association, Employers, Employees or Beneficiaries.

                    No Employee or Beneficiary has the right to receive any part of the

   assets of this Trust Fund, except as provided by the Plan of Benefits.

                    Section 3. Rate of Payments. Each of the Employers will pay to

   the Trustees or to an agent designa~ed by the Trustees the amount of money as

   established and provided for in Collective Bargaining Agreements. An Employer will

   also be
        . obligated to pay the amounts established in
                                                    . such agreements following the

   expiration of e Collective Bargaining Agreement if the Employer is under a duty to pay

   .such amounts pursuant to an obligation arising under the National Labor Relations

   Act. The obligations of each E_mployer under this Trust Agreement will be binding

   upon the Employers' successors and assigns to the extent provided by law.·

                    Section 4. Mode of Payment and Reports. All payments required

   by the Collective Bargaining Agreements as defined in Article I, Section 1 will be paid

   to the Trustees in the manner. and form determined by the Trustees. The Employer

   will m_ake all reports on payments required by the. Trustees in the performance of

   their duties under this Trust Agreement.

                    The Trustees may, at any time, design·ate a qualified representative

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   to conduct an audit of the payroll, wage and other records of any Employer to permit

   the Trustees to determine whether the Employer is niaking full payments to the Trust

   Fund in the amounts required by the Collective Bargaining Agreement. Any data or        i
                                                                                           !


   information provided to the Trustees by an Employer or by the Union will be kept

   confidential and may not be disclosed by the Trustees to any third person, unless the   j

   Trustees decide that disclosure is necessary for the proper administration of the

   Fund.
                                                                                           I
                    Section 5.    Presumptions Which Apply Where Records Are Not .

   Sufficient. Employers bound to this Trust Agreement are required to keep records

  ·that are sufficient to allow the Fund's representative and/or auditor to determine

   which Employee performed work for which payments were required to be made to

   the Fund by the Employer and how many hours of such work were performed. If the

  '!Fund's representative and/or auditor determines that the Employer's records are not

   sufficient for this purpose, it will be presumed that any individual who performed

   work for which payments were required to be made to the Fund by the Employer

   during the period covered by the audit, ~?Pent his entire time performing such work.

   Therefore, unless other    r~cotds   are available to determine hours worked, a

   delinquency based on the work performed by such a person will be calculated by

   dividing the person's total compensation from the. Employer by the applicable wage

   rate under the Collective Bargaining Agreement and multiplying by the appropriate

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   rate of payment.

                      Section 6. Default in Payment. Each Employer is responsible only

   for making payments that it is obligated to make on behalf of its Employees under its

   Collective Bargaining Agreement except as provided in this Trust Agreement. If an

   Employer doe:; not pay any payment when due this will not relieve any other
                                                                                             I
                                                                                             I




   Employer of his obligation to make payments. Non-payment by one Employer of any

   amount when due does not Impose on any other Employer, the Association or the

   Union any obligatiC?J:J with respect to such payments.

                      Regular, prompt and correct payment of amounts due by individual

  .:Employers to this Fund is essential for .th.e maintenance of the Fund. It is extremeiy

  difficult, if not impossible, to establish the actual expense and damage to the Fund

  ,and to the benefit progr11m provided by the Fund which will result from the failure of

  an· individual Employer to make payments in full within the specified time period

  established by the Trustees. Therefore, payments and the completed reporting forms

   are due by the twentieth (20"'1 day following the end of each calendar month. If an

  Employer does not file a report or make payments within ten (1 OJ calendar days· of

  the. due date, the followiqg, in the discretion of the Trustees, will be added to and

  become a part of the amount due from the Employer: (1) liquidated damages for each

  monthly report or payment due in the amount of twenty percent (20%) of the

  amount due, plus interest at the rate of twelve percent (12%) from the due date to

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   the date of payment; or (2) double interest as provided in ERISA. If an audit. of an

    Employer's records discloses payments due to the Fund, the Employer will also be
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   obligated to pay the audit fee.

                     The Trustees have the power to take any action necessary to
                                                                                                  !   I

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   enforce the payment of amounts due, which may include filing or intervening in any

   legal, equitable or administrative proceedings.    All re~sonable expenses incurred by

   the Trust Fund to enforce the payment of amounts due, including but not limited to,

   reasonable attorneys' fees, accountants' or auditor's fees and court costs will be

   added to the amount owed by the delinquent Employer In addition to the amount of

   payments due and the liquidated damages and interest provided for above.              The

  .. Trustees have the. authority to settle or compromise any claim, suit, or legal action

   for less thafl full amount due or to waive amounts due or determine amounts due to

   be uncollectable when i':J the Trustees' discretion they determine it to be in the best

   interest of the Fund •

                   . The Trustees or a committee appointed by the Trustees have the

   discretion to adopt such rules and procedures concerning payments to the Fund,

   audits, liquidated damages and to enforce the. collection of delinquent payments as

   they determine to be necessary. The Trustees may, in their discretion, require a bond

   or deposit as security for the· prompt future payment of amounts due to the Fund.

   The Trustees may, in their discretion, adopt special rules, including but not limited to, ·

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   more frequent reporting and payment of payments in the event an Employer has been

   repeatedly delinquent or based on the Employer's financial condition, if the Trustees

   determine ·that· this is necessary to prevent or limit the size of a current or potential

   delinquency.

                    Section 7. Projection of Delinquency_. Where an Employer is two or

   more months delinquent in making .the payments required on behalf of his Employees

   and has not submitfed the required documents showing the Employees who worked

   for him and the hours worked, the Trustees may project as the amount of the

   delinquency the greater of (a) the average of the monthly payments or reports

   aqtually submitted by the Employer for the last three (31 months for which payments

   or reports were submitted or (b) the average of the monthly payments or reports

   submitted by the Employer for the last twelve (121 months for which payments or

   reports were submitted. This projection of delinquency may be made in place of a

   demand for production of payroll documents, or if the Employer fails to provide such

   documents, in place of an audit. The projection may be used as a determination of

   payments due for each delinquent month, and may be used for purposes of any

   lawsuit, and no other proof need be provided by the Trustees to any court or

   arbitrator to compute the total payments due from the Employer for all delinquent

   months, exclusive of liquidated damages, interest, attorneys' fees and costs set out

   in this Article. This provision does not, however; limit. the Trustees from seeking a

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   greater amount than the projected delinquency if a greater amount is shown to be

   owed by records or other evidence.

                                       ARTICLE VII
                                    PLAN OF BENEFITS

                    Section 1 • Benefits. The Trustees have full discretion and authority

   to adopt a Plan of Benefits which includes the eligibility requirements, type, amount

   and duration of benefits that are to be provided equally and without discrimination to

   eligible Employees and Beneficiaries, based on what the Trustees determine to be

   within the financial limitations of the Trust Fund. However, only health, welfare, and

   related benefits may be provided for under this Trust· Agreement.

                    Section 2. Eligibility Requirements for Benefits. The Trustees have

   full discretion and authority to determine the eligibility requirements for benefits

  ,;provided by the Fund. They have full discretion and authority to adopt rules stating

  the eligibility requirements, which will be binding on the Union, the Association,

  Employers, Employees, Beneficiaries and dependents and any other persons making

  claims.

                    Section 3. Written Plan of Benefits. The detailed basis on which

  payment of benefits is to be made pursuant to this Trust Agreement will. be stated in

  the Plan of Benefits~    The Plan of Benefits may be changed or modified by the

  Trustees at any time as the Trustees, in their discretion, determine is necessary


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    based on the financial condition of the Fund, the needs of Employees and

    Beneficiaries and other related facts and circumstances. Any change or modification

   oHhe Plan of Benefits made by the Trustees will be stated in writing.

                     Section 4. Government Agency Approval. The Trust and the Plan

   of. Benefits adopted by the Trustees will be structured and operated to continue to

   qualify for approval by the Internal Revenue Service as a tax exempt Trust and Plan

   to ensure that the payments made by Employers to the Fund are proper deductions

   for income tax purposes. In addition, the Plan of Benefits adopted by the Trustees

   will be structured and operated
                             .     to continue to qualify
                                                   .      for approval by any other

   agency as may be required by applicable law. It is the intention of the Trustees to

   fully comply with all requirements of the Internal Revenue Code and ERISA. The

   ·Trustees are authorized to file whatever applications and forms are necessary· with

   the Internal Revenue Service or other agency to receive and maintain approval of the

   Trust and· Plan of Benefits.

                     Section 5.. Umitation of Employer's and Union's Obligations.

  ·Neither any Employer, nor the Association, nor the Union have any responsibility for

   the payment of any benefit under the Plan of Benefits.        The obligation of each

   Employer under the Plan is a separate one and Is limited to paying into the Trust Fund

   the amounts that the Employer is obligated to make on behalf of its own Employees

   and other payments under the provisions of the applicable Collective Bargaining

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   Agreement and under the provisions of this Trust Agreement.

                                    ARTICLE VIII
                             CONTROVERSIES AND DISPUTES                                      I
                                                                                             I

                     Section 1.     Reliance on Records.        In connection with any

   controversy, claim, demand, lawsuit or other proceeding between the Union, the

   Association, any Employer, Employee, Beneficiary or any other person and the              !
   Trustees, the Trustees are entitled to rely to the extent permitted by ERISA, on any
                                                                                             I
   facts that appear in the records of the Trustees; any documents on file with the              \

   Trustees, with the Union or the Association or with the Employers; any facts certified

   to the Trustees by the Union the Association .or an Employer; any facts which are in

   the .public record and any other evidence pertinent to the issue involved.

                    Section 2.- Submission to Trustees. All questions or controversies

   of any type that arise in any manner or between any persons in connection with the

  Trust Fund or the operation of the Trust Fund including, but not limited to, a claim for

  benefits by an Employee, Beneficiary or any other person, or concerning the

  interpretation of the language or meaning of the Plan of Benefits or this Trust

  Agreement or the rules and procedures adopted by the Trustees, or concerning any

  decision, document or account in connection with the operation of the Trust Fund or

  .otherwise, will be submitted to the Trustees and the decision of the Trustees will be

  binding upon all persons dealing with the Trust Fund or claiming benefits under the


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    Trust Fund.

                     Section 3.    Settling Disputes.   The Trustees may, in their sole

   discretion, compromise or settle any claim or controversy. in the manner that .they

   determine to be in the best interest of the Fund. Any decision made by the Trustees

   to compromise or settle a claim or controversy, or any compromise or settlement

   agreement entered into by the Trustees, will be final and binding on all parties

   interested in this Trust.

                     Section 4. Withholding Payment. If a question or dispute arises

   concerning the proper person or persons to whom a payment is to be made under the

   Plan of Benefits or this Trust, the Trustees may withhold the payment until there has

   been an adjudication of the question or dispute which is satisfactory to the Trustees'

   in their sole judgment or until the Trustees have been fully protected against loss by

   an indemnification agreement or bond which the Trustees, in their sole judgment,

   determine is adequate.

                                        ARTICLE IX
                                       ARBITRATION

                     Section 1. Application of this Article. If the Trustees cannot decide

   any matter, issue or dispute because there is no quorum at two (2) successive regular

   or special meetings of the Trustees, or because there is a tie vote between the

   Employer Trustees and Union Trustees at any meeting, then, in either event, the


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    Employer Trustees and the Union Trustees will attempt to agree upon the designation

    of an impartial umpire to decide the dispute. .If, within thirty (30) days after the
                                                                                                I
    occurrence of either of the two events referred to above the Union Trustees and the

    Employer Trustees fail to agree upon the selection of ari impartial arbitrator, then the
                                                                                                I
                                                                                                !
                                                                                                (
    Union Trustees or Employer Trustees may request the American Arbitration

   ·Association to submit a panel of five (5) arbitrators from which the disputing parties

    will choose one (1) •. The decision of the impartial arbitrator will be final and binding   II
    on all parties a.nd persons co.ncerned.
                                                                                                    I
                      Section 2. Expenses of Arbitration. All reasonable and necessary

    costs and expenses in connection with the pr9ceedings before the impan;ial arbitrator,

    including the fee, if any, of the impartial arbitrator and including attorneys' fees




                      Section .3. Status of Arbitrator. An impartial arbitrator or umpire

    agreed upon or appointed to decide any matter relating to the administration of the

    Trust Fund or Plan of Benefits wHI be a fiduciary to the extent provided' by ERISA or

    court or agency interpretations of ERISA.
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                                       ARTICLE X
                             EXECUTION OF TRUST AGREEMENT


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                     Section 1. Counterparts. This Trust Agreement m11y be executed in

    one or more counterparts. The signature of a person on any counterpart vvill be

    sufficient evidence   of his execution of the Trust Agreement.
                     Section 2. Written Instruments. Employers, as defined in Article I,

   . Section 4, may adopt and become a party to this Trust Agreement by signing a

    Collective Bargaining Agreement in which the Employer agrees to participate in the

    Trust Fund under the terms of this Trust Agreement and the rules and procedures

    adopted by the Trustees.

                                      .ARTICLE XI
                             AMENDMENT TO TRUST AGREEMENT

                     Section 1. ·Amendment by Trustees. The provisions of this ,Trust

    Agreement may be amended to any extent and at any time by a document in writing
                                                                                              I
                                                                                              II
    adopted by a majority of the Union Trustees and a majority of the Employer Trustees.

    It is expressly understood and agreed that no amendment will direct any of the trust

   assets then in the hands of the Trustees from the purposes and objects of the Trust

    Fund.

                     Section 2.     Retroactive Effect. The Trustees have full power and

   discretion to establish the effective date of any Amendment. Any Amendment may

   have retroactive effect if it is determined to be necessary by the Trustees.

                                        , ARTICLE XII
                                    TERMINATION OF TRUST

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                      Section 1.      By" the Trustees.    This Trust Agreement may be

     terminated by a document in writing adopted a majority of the Union Trustees and a

    majority of the Employer Trustees if any one or more of the following events occur:

                      {a)    if, in the opinion of the Trustees, the Trust Fund is not

    adequate to carry out the intent and purpose of this Trust Agreement, or is not

    adequate to meet the payments due or which may become due under the Plan of

    Benefits;

                      {b)    if there are no individuals living who can qualify as Employee·s"

    or Beneficiaries under this Trust Agreement;

                      {c)    if Collective Bargaining Agreements requiring payments to the

   . Trust Funcl are no longer in force and effect.

                      Section 2. Procedure on Termination •. If this Trust Agreement is

    terminated,. the Trustees will:

                      {a)    provide for the payment out of the Trust Fund of expenses

    incurred up to the date of termination of the Trust and the expens13s in connection

    with the termination;

                      {b)    arrange for a final audit and report of their transactions and

    accounts for the purpose of terminating their Trusteeship;

                      {c)    give any notice and prepare and file any reports which .mi'!Y

    be required by law; and ·

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                      (d)    apply the Trust Fund in accordance with the provisions of the

    Plan of Benefits including amendments adopted as part of the termination until the

    Fund is disbursed.

                      No part of the corpus or income of the Trust Fund will be used for

    or diverted to purposes other than for the exclusive benefit of the Employees and the '   .\

    Beneficiaries or the administrative expensE!s of the Trust Fund.               Under no

    circumstances will any portion of the Trust Fund revert or inure to the benefit of any

    contributing Employer, the As!lociation, or the Union either directly or indirectly.

                      Section 3.    Notification of Termination.   Upon termination of the

    Trust Fund under this Article, the Trustees will promptly notify the Union, the

    Association, Employers, and all other interested parties. The Trustees will continue

    as Twustees for the purpose of winding up the affairs of the Trust Fund.

                                        ARTICLE XII
                                MISCELLANEOUS PROVISIONS

                      Section 1. Termination of Individual Employers. An Employer will

    cease to be an Employer within the meaning of this Trust Agreement when he is no

    longer obligated, pursuant to a Collective Bargaining Agreement, to make payments

    to this Trust Fund.

                      Section 2. Situs. The State of New York is the situs of the Trust

    Fund established by this Trust Agreement.. All questions. pertaining to validity,


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     construction and administration of this Trust Fund will be determined in accordance

    with the laws of the State of New York to the extent not preempted by the laws of

    the United States.

                     Section 3. Construction of Terms. Wherever any words are used in

    this Trust Agreement in the masculine gender, they will be interpreted and applied as

    though they are also used in the feminine or nfluter gender, in all situations where

    this would apply.    Wherever any words are used in this Trust Agreement in the

    singular form, they will be interpreted and applied as though they are also used in the

    plural form in all situations where this would apply. Wherever any words are used in

    this Trust Agreement in the plural form, they will be interpreted and applied as

   . though they are also used in the singular form in all situations where this would

    apply.

                     Section 4. Notice. Any notice required to be given to one or more

    of the Trustees pursuant to any provision of this Trust Agreement will be deemed to

    have been given If it is mailed to the Trustee or Trustees at the most recent address

    of the Trustee on file with the Trust Fund.                                                   I
                     Section 5 .. Severability. If any provision in this Trust Agreement,

    the Plan of Benefits or rules and procedures adopted thereunder, or in any Collective

    Bargaining Agreement, is determined to be illegal ·or invalid for any reason, this
                                                                                                  I
    determination will not affect other provisions contained in those documents, unless

                                              40.
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   .the · determination concerning the illegal or invalid provision would make the

    functioning of the Trust Fund or the Plan of Benefits impossible or impractical. In

    such case, the appropriate parties will promptly adopt a new provision to take the

    place of the illegal or invalid provision.

                      Section 6.    Refund of Payments.    In no event, will any Employer, .

    directly or indirectly, receive any refund of payments made by him to the Trust Fund

    except as provided in ERISA. Under no circumstances will any portion of the Trust

    Fund rev~;~r.t or inure to the benefit of any contributing Employer, the Assoqiation, or

    the Union either directly or indirectly.

                      Section 7. Article and Section Titles .. The Article and Section titles

    are .included solely for convenience and will not be interpreted to affect or modify any

   provision of this Trust Agreement or be interp'reted as provisions of this Trust

   Agreement.

                      Section 8.      Benefits Payable from Trust Fund Only.        Benefits

   proyided for by this Trust Agreement and/or the Plan of Benefits are only payable to

   the extent there are assets in the Fund to pay such benefits. Neither the Trustees,

   nor the Union, the Association, or Employers guarantee the payment of benefits in

   the event the assets of the Fund are insufficient for this purpose.

                      Section 9.     Complete Agreement.      The provisions of this Trust

   Agreement exclusively will define the powers, duties, rights and obligations of all

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        persons who have a relation to the Trust, except that the amount of the employer

        payments will be provided for in Collective Bargaining Agree111ents.

                                   IN WITNESS WHEREOF, the undersigned have adopted and

        executed this document, as evidence of their acceptance of the Trust hereby
                                                                     .
        established and their agreement to be boul}d by the Trust this 2:._ day of ~~
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        1999.



        PLUMBERS LOCAL UNION. NO.1


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